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                          UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF NEW YORK


__________________________________

UNITED STATES OF AMERICA,

             Plaintiff,
                                                    AMENDED
             v.                                 SCHEDULING ORDER

PEDRO ANTONETTY, JORGE
OLIVERA and CARMELO MERCADO,                    Criminal Docket 07-CR-187S(Sr)
CHRISTIAN ROSARIO and
ROBERT GARIGAL,

           Defendants.
__________________________________



      Defendants have filed motion requesting additional time within which to file pretrial
motions. The government does not object. The Scheduling Order which was filed on
December 19, 2007, is hereby amended as follows:

      (1)    All pretrial motions, both dispositive and non-dispositive, including
             all supporting papers and memoranda of law in support thereof, shall
             be filed by June 2, 2008.

      (2)    All responses to pretrial motions, including all supporting papers and
             memoranda of law in support thereof, filed in accordance with the
             preceding paragraph shall be filed by July 3, 2008.

      (3)    Oral argument on any pretrial motions shall be heard on July 23,
             2008, at 2:30 P.M.

      (4)    IF NO MOTIONS ARE FILED ON OR BEFORE THE AFORESAID
             DATE, THE PARTIES ARE HEREBY DIRECTED TO MEET WITH
             HON. WILLIAM M. SKRETNY ON JUNE 4, 2008, at 2:00 P.M.

       In accordance with the Second Circuit Speedy Trial Guidelines, Part I(C)(3)(a) and
(b), and upon the authority of United States v Piontek, 861 F.2d 152, 154 (7th Cir., 1988);
United States v Montoya, 827 F.2d 143, 153 (7th Cir., 1987); United States v. Wilson, 835
F2d 1440, 1444 (D.C. Cir., 1987; United States v Tibboel, 753 F.2d 608, 610 (7th Cir.,
1985); and United States v Jodoin, 672 F.2d 232, 238 (1st Cir., 1982), the period of time
from April 8, 2008, until the date of making and/or filing of pretrial motions is excluded
pursuant to 18 U.S.C. § 3161(h)(8)(A) and (h)(8)(B)(iv).
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        If no motions are filed by the filing date set forth in paragraph (2), the case shall be
referred to the district court judge to whom the case is assigned for trial and the speedy
trial exclusion set forth above shall terminate as of the cutoff date for the filing of motions
set forth herein.

        Any requests for extension of the above dates must be made by the filing of a
motion, electronically, with the Clerk of the Court, prior to the due date. Such application
shall be made only after conferring with all other parties and shall include a suggested
rescheduled date, agreeable to all parties. As a general rule, no request for an extension
will be granted unless extraordinary circumstances are present.

      Failure by any party to raise defenses or objections, or to make requests which
must be made prior to trial at the time set forth in this scheduling order or prior to any
extension made by the court shall constitute a waiver thereof. FedR.Crim.P. 12(f).

      Counsel for the parties are directed to provide the Court with a courtesy copy
of Motions, Responses, Replies, Memoranda of Law, and Exhibits clearly marked.

       SO ORDERED.



                                                   /s/ H. Kenneth Schroeder, Jr.
                                                   _______________________________
                                                   H. KENNETH SCHROEDER, Jr.
                                                   United States Magistrate Judge


DATED:        April 10, 2008
              Buffalo, New York
